Case 18-68479-pmb             Doc 58   Filed 06/27/19 Entered 06/28/19 15:10:20                           Desc Main
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                                                                                                            PM,: 10
                               UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRICT OF GEORGIA
                                       ATLANTA DIVISION

           IN RE:                                         )       CASE NO, 18-68479-PNi
                                                          )
           JAMES EDWARD CARTER, IV                        )       CHAPTER II
                                                          )
                    Debtor.                               )


                      CLASS 4 BALLOT FOR ACCEPTING OR REJECTING
                                PLAN OF REORGANIZATION


           James Edward Carter, IV tiled an Amended Plan of Reorganization dated May 7, 2019 (the:
   "Plan") (Doc. 48) for the Debtor in this case. The Court has approved a disclosure statement with respect
   to the Plan (the "Disclosure Statement"). The Disclosure Statement provides information to assist you in
   deciding how to vote your ballot and is included in this mailing. Court approval of the disclosure
   statement does not indicate approval of the Plan by the Court.

           You should review the Disclosure Statement and the Plan before you vote. You may wish to
   seek legal advice concerning the Plan and your classification and treatment under the Plan. Your
   Claim has been placed in Class 4 under the Plan. If you hold claims or equity interests in more than
   one class, you will receive a ballot for each class in which you are entitled to vote.

           If your ballot is not received by The Clerk of the Bankruptcy Court or filed via ECF system
    on or before JULY 5, 2019 and such deadline is not extended, your vote will not count as either an
    acceptance or rejection of the Plan,

           If the Plan is confirmed by the Bankruptcy Court, it will be binding on you whether or not
    you vote.
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                        ACCEPTANCE OR REJECTION OF THE PLAN

   The undersigned, the holder of a Class 4 claim against the Debtor in the unpaid amount of:
           $7,880.10 American Express National Bank
           Account Ending: 1004




             (Check one box only)

             Ej ACCEPTS THE PLAN                                           X REJECTS THE PLAN

   Dated:
            June 24, 2019


                                    Print or type name:
                                    Signature:
                                    Title (if corporation or part                   ent for credit
                                    Address:               c/o B    ket & Lee LL   PO Box 3001 Ma vern PA 19355




    RETURN THIS BALLOT TO:

    United States Bankruptcy Court for the Northern District of Georgia
    Clerk of Bankruptcy Court
    75 Ted Turner Drive, SW
    Room 1340
    Atlanta, GA 30303                       With email copy to: hs@atl.law
